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                                  United States District Court
                                   District of Massachusetts



___________________________________


UNITED STATES OF AMERICA                      )
                                              )
       v.                                     )
                                              ) Criminal Action No. 19-cr-40025-TSH
JUNIOR MELENDEZ                               )
                                              )
                                              )
       Defendant                              )
____________________________________




  FINDINGS AND ORDER ON DEFENANT JUNIOR MELENDEZ’ MOTION TO SUPPRESS
               WARRANT GPS TRACKING JAGUAR (Document # 197)

                                              April 23, 2021
                                              Introduction
       The defendant Junior Melendez moves to suppress from the introduction into evidence

against him at trial the results of a court authorized GPS device installed on a Jaguar SUV that he

used in April and May of 2019. He assigns as reasons for the suppression that the affidavit in

support of the search warrant failed to establish probable cause that he was engaged in criminal

activity and that the tracking of the Jaguar would provide evidence of that criminal activity. For

the reasons set forth below, that motion is denied.
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                                                   Background
        In July of 2018, Worcester police and the ATF began investigating the defendant Junior

Melendez and his associates for drug and firearm offenses. Mr. Melendez was known to the

police after having been convicted of similar offenses in 2006, and for which he served a lengthy

(109 month) sentence. Mr. Melendez was identified by the police as the leader of the

Massachusetts chapter of the Almighty Vice Lords, a violent street gang. In March of 2019, the

government obtained authorization to intercept wire and electronic communications from Mr

Melendez’ cell phone. On April 12, 2019 the police obtained a warrant for the location

information for that phone. On April 22, 2019, based upon the wiretap and phone location

information, ATF Special Agent Anthony Ventetuolo applied for and received the warrant at

issue in this motion, authorizing GPS tracking on a Jaguar SUV that Mr. Melendez was using.1

        On April 15th, 2019 agents intercepted telephone calls between Melendez and Lawrence

Rutherford in which Rutherford requested two ounces of cocaine from Melendez, and

Melendez arranged for Rutherford to pick up the cocaine at an associate's residence at 10

Pattison Street in Worcester. On April 19th, 2019 agents intercepted calls between Melendez and

David Nevins during which the men discussed the purchase of cocaine and coordinated a

meeting at 10 Pattison Street for the transfer. Agents observed the Jaguar at the location when

Nevins arrived for the transaction.

        The affidavit authored by agent Ventetuolo in support of his application for the wiretap

was incorporated by reference into the affidavit for the Jaguar GPS warrant. That affidavit

detailed a lengthy series of incidents in which Melendez and his associates used their vehicles to



1
 Prior to April 16, 2019 Melendez used a Mercedes C300 automobile. Melendez acquired the Jaguar SUV after the
Mercedes was involved in a single car accident on April 16th. He used the Jaguar until May 29, 2019.
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engage in drug activity. That affidavit also served to point out the highly mobile nature of the

Melendez drug trafficking organization and their ubiquitous use of automobiles to facilitate

distribution. A good example is Melendez’ use of his Mercedes on April 3rd 2019 to provide

cocaine to Antoine Mack at 69 Cutler St in Worcester for Mack to deliver to Manchester New

Hampshire.

                                                 Discussion
  The Ventetuolo affidavits clearly establish that Mr. Melendez was actively engaged in

distributing controlled substances and using his vehicles to facilitate that distribution. An

application for a search warrant must establish a probable cause to believe; (1) a crime has been

committed, (the “commission” element), and (2) enumerated evidence of the offense will be

found at the place to be searched. The so-called “nexus” element. The United States v. Vayas-

Diaz 95 F.3d 105, 111 (1st Cir. 1996). With regard to the nexus element, the task of a magistrate

judge in determining whether probable cause exists is “to make a practical, common-sense

decision whether, given all circumstances set forth in the affidavit before him . . . there is a fair

probability that contraband or evidence of a crime will be found in a particular place.” United

States v. Feliz 182, F.3d 82, 86 (1st Cir. 1999). Quoting from Illinois v. Gates 462 U.S. 213. 238

(1983). Here, there are specific instances in April of 2019 which provide ample probable cause

for the issuing magistrate to conclude that Mr. Melendez was using the Jaguar to distribute

cocaine. Furthermore, there are numerous examples of Mr. Melendez use of his Mercedes prior

to his use of the Jaguar to distribute cocaine. It was reasonable and inevititable for the issuing

Magistrate to conclude that Melendez relied heavily upon his vehicles to accomplish his drug

distribution goals and that tracking those vehicles would provide valuable information about the

Melendez drug trafficking organization.
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   The Government also argues that the good faith exception should apply here. United States v.

Leon, 468 U.S. 897 (1984). The good faith exception provides that even if a search warrant is

flawed, the evidence should not be suppressed where “the police act with an objectively

reasonable good faith belief that their conduct is lawful.” Davis v. U.S. 131 Sup. Ct. 2419, 2422

(2011). The good faith exception would not apply if the affiant misled the magistrate, or

demonstrated a reckless disregard for the truth, or the magistrate wholly abandoned his judicial

duty, or probable cause is so lacking that belief that probable cause did exist is “entirely

unreasonable,” Leon Supra at 923. I find that none of those four conditions exist; namely there

is no misleading information in the affidavit and that the good faith exception applies.




                                            Conclusion

   For the reasons set forth above, the Defendant’s Motion to Suppress is denied.




                                                      /s/Timothy S. Hillman
                                                      Timothy S. Hillman
                                                      District Judge
